                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


CESAR CAICEDO,                               )
                                             )
                     Petitioner,             )
                                             )          1:06CV884
       v.                                    )          1:05CR354-13
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
                     Respondent.             )

                                        O-R-D-E-R

       The Recommendation of the United States Magistrate Judge was filed with the court

in accordance with 28 U.S.C. § 636(b) and, on October 23, 2006, was served on the parties

in this action. Petitioner objected to the Recommendation.

       The court has appropriately reviewed the portions of the Magistrate Judge’s report to

which objection was made and has made a de novo determination which is in accord with the

Magistrate Judge’s report.         The court therefore adopts the Magistrate Judge’s

recommendation.

       IT IS THEREFORE ORDERED that Petitioner’s motion to vacate, set aside, or

correct sentence pursuant to 28 U.S.C. § 2255 be dismissed without prejudice to Petitioner

filing a corrected motion on the proper § 2255 forms. A judgment dismissing this action will

be entered contemporaneously with this Order.



                                                             United States District Judge

Date: February 21, 2007




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